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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA, ex rel.      )
VERMONT NATIONAL TELEPHONE CO., )
                                       )
           Plaintiffs,                 )                     Civil Action No. 15-728(CKK)
                                       )
        v.                             )
                                       )
NORTHSTAR WIRELESS, LLC, et al.,       )
                                       )
           Defendants.                 )
______________________________________ )

             NOTICE OF INTENT TO INTERVENE AND SEEK DISMISSAL

       Pursuant to the Court’s Minute Order dated February 27, 2024, the United States notifies

the Court that it intends to file a Motion to Intervene pursuant to 31 U.S.C. §§ 3730(c)(3) in

order to Dismiss pursuant to 31 U.S.C. § 3730(c)(2)(A) by Friday, March 8, 2024.


                                               *   *   *
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                           Respectfully submitted,

                           MICHAEL D. GRANSTON
                           Deputy Assistant Attorney General
                           Civil Division

                           MATTHEW M. GRAVES
                           United States Attorney for the District of Columbia

                           BRIAN P. HUDAK
                           Chief, Civil Division


                             /s/ Darrell C. Valdez
                           DARRELL C. VALDEZ, D.C. Bar # 420232
                           Assistant United States Attorney
                           U.S. Attorney’s Office for the District of Columbia
                           601 D Street, N.W., Civil Division
                           Washington, D.C. 20530
                           (202) 252-2507

                           JAMIE A. YAVELBERG
                           PATRICIA L. HANOWER
                           BENJAMIN C. WEI
                           Attorneys, Civil Division,
                           Commercial Litigation Branch
                           U.S. Department of Justice
                           Post Office Box 261
                           Washington, D.C. 20044
                           (202) 616-2875

                           Counsel for the United States of America




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